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11      MARIA HERNANDEZ, AZAEL
        SANCHEZ, and ROBERTO NAVA
12

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14
                            UNITED STATES DISTRICT COURT
15
                         SOUTHERN DISTRICT OF CALIFORNIA
16

17
       MARIA HERNANDEZ, as an                       Case No. 3:19-cv-01636-AJB-AHG
18     individual, AZAEL SANCHEZ, as an
       individual; and ROBERTO NAVA, as             Judge Anthony Battaglia
19     an individual, and on behalf of all others
       similarly situated,                          DECLARATION OF REX
20                                                  PHILLIPS IN SUPPORT OF
                        Plaintiffs,                 PLAINTIFF’S OPPOSITION TO
21           v.                                     DEFENDANT’S MOTION FOR
                                                    SUMMARY JUDGMENT, OR IN
22     SOUTHWEST KEY PROGRAMS,                      THE ALTERNATIVE, PARTIAL
       INC.; a Texas corporation;                   SUMMARY JUDGMENT
23     TALENTWISE, INC., a Delaware
       Corporation; and DOES 1-50
24                                                  Date: July 16, 2020
                        Defendants.                 Time: 2:00 p.m.
25                                                  Dept.: Courtroom 4A
26
                                                    Complaint Filed: July 12, 2019
27                                                  Trial Date: None
28


          DECLARATION OF REX PHILLIPS IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO DEFENDANT’S MSJ
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 1                              DECLARATION OF REX PHILLIPS
 2           I, REX PHILLIPS, declare:
 3           1.     I am an attorney duly licensed to practice in California, and I am of counsel
 4     for Crosner Legal, P.C., counsel of record for plaintiffs Maria Hernandez, Roberto Nava,
 5     and Azael Sanchez (collectively “Plaintiffs”) in this matter. If called to testify to the
 6     within facts, I would and could competently do so.
 7           2.     On July 12, 2019, Plaintiffs filed a Class Action lawsuit as Case No. 37-
 8     2019-00036821-CU-OE-CTL against Defendant in the California Superior Court, County
 9     of San Diego, alleging that Defendant’s purported disclosures and authorizations
10     obtained from Plaintiffs with regard to background checks do not meet the strict
11     requirements of the FCRA and the ICRAA.
12           3.     Thereafter, Defendant removed the case to the United States Southern
13     District Court on or about September 5, 2019 as Case No. 3:19-cv-01636-AJB-AHG.
14           4.     On or about January 16, 2020, Defendants produced documents in response
15     to Plaintiffs’ discovery. A review of the documents shows that each of the Plaintiffs’
16     personnel files were produced in their entirety as kept in their records. The personnel file
17     for Maria Hernandez is bates numbered SWK000001-000099. The personnel file for
18     Azael Sanchez is bates numbered SWK000100-000220. The personnel file for Roberto
19     Nava is bates numbered SWK000221-000345. As produced, neither the Disclosure for
20     Background Check (“Disclosure”) nor the Summary of Rights Under the Fair Credit
21     Reporting Act (“Summary of Rights”) are included within the pages of the personnel files
22     produced.
23           5.     A true and correct copy of Plaintiff Maria Hernandez’s personnel file
24     produced by Defendant is attached hereto as Exhibit 1.
25           6.     A true and correct copy of Plaintiff Roberto Nava’s personnel file produced
26     by Defendant is attached hereto as Exhibit 2.
27           7.     A true and correct copy of Plaintiff Azael Sanchez’s personnel file produced
28     by Defendant is attached hereto as Exhibit 3.
                                                    2
          DECLARATION OF REX PHILLIPS IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO DEFENDANT’S MSJ
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 1             8.    The Disclosure and Summary of Rights which Defendant claims were
 2     provided to Plaintiffs are found at the very end of the production and bates numbered
 3     SWK000346-362 but are not included in the earlier bates numbered personnel files
 4     produced. Also included at the end of the production within the bates range SWK000346-
 5     362 is a blank Authorization Form which is completely different than the Authorization
 6     Form signed by each Plaintiff and included in each personnel file. A true and correct
 7     copy of the documents bates numbered SWK000346-362 are attached as Exhibit 4.
 8             9.    As part of the personnel file produced by Defendant for each of the Plaintiffs
 9     is a Background Inquiry Agreement which each Plaintiff was required to sign. Each of
10     the Background Agreements signed by Plaintiffs fails to state that a consumer report or
11     investigative consumer report may seek information as to Plaintiffs’ personal
12     characteristics or mode of living. Further, each of the Background Agreements signed by
13     Plaintiffs includes a waiver of liability provision as to Defendant and/or any of its agents.
14             10.   A true and correct copy of the Background Inquiry Agreement signed by
15     Maria Hernandez on March 6, 2018 is attached hereto as Exhibit 5.
16             11.   A true and correct copy of the Background Inquiry Agreement signed by
17     Roberto Nava on March 19, 2018 is attached hereto as Exhibit 6.
18             12.   A true and correct copy of the Background Inquiry Agreement signed by
19     Azael Sanchez on February 28, 2018 is attached hereto as Exhibit 7.
20             13.   Defendant filed its Motion for Summary Judgment on April 29, 2020.
21             14.   Plaintiffs have yet to file a motion for class certification and have only
22     propounded first sets of Requests for Production of Documents and Special
23     Interrogatories. Plaintiffs’ counsel has continued to meet and confer with Defendant’s
24     counsel regarding the fact that no documents related to the putative class have been
25     produced at this time.
26     //
27     //
28     //
                                                     3
            DECLARATION OF REX PHILLIPS IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO DEFENDANT’S MSJ
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 1           I declare under penalty of perjury under the laws of the State of California that the
 2     foregoing is true and correct. Executed this 13th day of May 2019, at Hacienda Heights,
 3     California.
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                                                          ___________________
                                                          REX PHILLIPS
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          DECLARATION OF REX PHILLIPS IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO DEFENDANT’S MSJ
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               EXHIBIT
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